IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LIBERTARIAN PARTY OF
PENNSYLVANIA; THE
CONSTITUTION PARTY OF :
PENNSYLVANIA; GREEN PARTY OF :
PENNSYLVANIA; STEVE SCHEETZ;
KEVIN GAUGHEN; ALAN SMITH;
TIMOTHY RUNKLE; BOB GOODRICH:

and JUSTIN MAGILL,
Plaintiffs,
Vv. : NO. 20-CV-02299
TOM WOLF, in his official capacity as : JUDGE SMITH
Governor of the Commonwealth of :
Pennsylvania; KATHY BOOCKVAR, in: ELECTRONICALLY FILED

her official capacity as Secretary of the
Commonwealth of Pennsylvania; and
JONATHAN M. MARKS, in his official
capacity as Deputy Secretary for Elections :
and Commissions, :

Defendants.

DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO
PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY
RESTRAINING ORDER AND PRELIMINARY INJUNCTION

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INTRODUCTION

With nearly two months left to go before nomination papers are due to be
filed, Plaintiffs seek a mandatory preliminary injunction relieving them of any
obligation to collect signatures and directing that their candidates be placed on the
ballot automatically based on a naked assertion that it is “difficult if not practically
impossible to collect signatures” due to the COVID-19 pandemic. This
unsupported assertion falls far short of the exacting showing required to justify
issuance of a mandatory preliminary injunction. Signature requirements like those
at issue here have been regularly upheld by the courts! and, notwithstanding the
COVID-19 pandemic, courts have refused to relieve candidates in other states of
higher signature requirements in less time.” Further, there is no authority for the

relief that Plaintiffs seek. Federal courts lack authority to dictate to the states how

 

' See, e.g., Storer v. Brown, 415 U.S. 724, 740 (1974) (“Standing alone, gathering 325,000
signatures in 24 days would not appear to be an impossible burden.”); Rogers v. Corbett, 468
F.3d 188, 195 (3d Cir. 2006) (gathering 67,070 signatures in 21 weeks not “unconstitutionally
burdensome”),

2 See, e.g., Thompson v. Dewine, 959 F.3d 804 (6th Cir. 2020) (granting motion to stay
preliminary injunction because plaintiffs were unlikely to prevail on merits of claim that five-
week period to obtain “hundreds of thousands of signatures” was unconstitutional burden and
explaining that “five-week period from Ohio’s rescinding of its [stay-at-home] order until the
deadline to submit an initiative petition undermines Plaintiffs’ argument that the State has
excluded them from the ballot”); Gottlieb vy. Lamont, --- F. Supp. 3d ---, No. 20-CV-0623, 2020
WL 3046205 (D. Conn. June 8, 2020) (denying preliminary injunction because plaintiffs were
not likely to prevail on merits of challenge to signature requirement that they obtain more than
1000 signatures in 16 days and explaining that signature requirement was “reasonable and non-
discriminatory and do[es] not unconstitutionally burden plaintiffs’ rights”).
they should conduct their elections.’ On top of all that, Plaintiffs’ claims are
defective not only because they lack standing and they fail to assert a basis for
injunctive relief under 42 U.S.C. § 1983, but also because the signature
requirement derives from a federal court order. Plaintiffs’ motion fails in all

material respects and should be denied.
FACTUAL BACKGROUND AND PROCEDURAL HISTORY

This action stems from the unprecedented COVID-19 pandemic and the
various restrictions imposed to slow the spread of the virus. Governor Tom Wolf
proclaimed the existence of a disaster emergency throughout the Commonwealth
on March 6, 2020 pursuant to 35 Pa.C.S. § 7301(c). On March 19, 2020, Governor
Wolf issued an order temporarily closing non-life-sustaining businesses to prevent
the spread of the virus. On March 23, 2020, Governor Wolf issued a stay-at-home
order for individuals residing in seven Pennsylvania counties. By various orders
issued between March 24, 2020 and March 31, 2020, Governor Wolf extended the
stay-at-home restriction to 26 additional counties. On April 1, 2020, Governor
Wolf issued a statewide stay-at-home order effective until April 30, 2020. Neither
the disaster emergency declaration nor the stay-at-home orders prohibited

campaigning or signature-gathering.

 

3 See Clingman v. Beaver, 544 U.S. 581, 586 (2005).

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On April 22, 2020, Governor Wolf implemented a process to “reopen
Pennsylvania” with a targeted May 8, 2020 start date. The reopening plan
involved progressively classifying counties for reopening from red to yellow to
green phases. The red phase maintained the stay-at-home restriction. The yellow
phase lifts the stay-at-home restriction and allows gatherings of up to 25 people.
The green phase lifts many of the other restrictions and allows gatherings of up to

250 people.‘

The stay-at-home restrictions started to be lifted as planned on May 8, 2020.
Twenty-four counties moved into the yellow phase on May 8,° another 13 moved

to yellow beginning May 15,° and 12 more counties moved to the yellow phase on

 

4 See Process to Reopen Pennsylvania, https://www.governor.pa.gov/process-to-reopen-
pennsylvania/ (last visited June 12, 2020), The Court may properly take judicial notice of the
Governor’s Orders and the other government publications cited herein pursuant to Rule 201 of
the Federal Rules of Evidence. See Tampa Elec. Co. v. Nashville Coal Co., 365 U.S. 320, 332 &
n.10 (1961) (taking judicial notice of government publication).

> See Order of the Governor of the Commonwealth of Pennsylvania for Limited Opening of
Businesses. Lifting of Stay At Home Requirements, and Continued Aggressive Mitigation
Efforts, https://www.governor.pa. gov/wp-content/uploads/2020/05/20200507-T W W- Yellow-
Phase-Order.pdf (last visited June 12, 2020).

6 See Amendment to Order of the Governor of the Commonwealth of Pennsylvania for
Limited Opening of Businesses. Lifting of Stay At Home Requirements, and Continued
Aggressive Mitigation Efforts, https://www.governor.pa.gov/wp-
content/uploads/2020/05/202005 14-T W W-amendment-to-yellow-phase-order.pdf (last visited
June 12, 2020).
May 22.” On May 29, 18 counties moved to the green phase.® As of June 5, all 67
counties in Pennsylvania were either in the yellow (33 counties) or green (34
counties) phase of reopening.? On June 12, an additional 12 counties moved to

green, bringing the total number of counties in green to 46 of the 67.'°

On May 14, 2020, in the midst of the reopening plan, Plaintiffs initiated this
action under 42 U.S.C. § 1983 requesting that their candidates be relieved of any
obligation to collect signatures and that they be placed automatically on the general
election ballot. The Plaintiff organizations are “political bodies.” They do not

participate in primaries but rather circulate nomination papers and obtain

 

7 See Amendment to the Order of the Governor of the Commonwealth of Pennsylvania For
Limited Opening of Businesses, Lifting of Stay At Home Requirements, And Continued
Aggressive Mitigation Efforts, https://www.governor.pa.gov/wp-
content/uploads/2020/05/20200521-TWW-Yellow-Phase-Order-Amendment.pdf (last visited
June 12, 2020).

8 See Order of the Governor of the Commonwealth of Pennsylvania For the Continued
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content/uploads/2020/05/20200527-T W W-green-phase-order.pdf (last visited June 12, 2020).

° See Amendment to the Order of the Governor of the Commonwealth of Pennsylvania For
Limited Opening of Businesses, Lifting of Stay At Home Requirements, And Continued
Aggressive Mitigation Efforts, https://www.governor.pa.gov/wp-
content/uploads/2020/06/20200604-T W W-amendment-to-yellow-phase-order.pdf (last visited
June 12, 2020); Order of the Governor of the Commonwealth of Pennsylvania For the Continued
Reopening of the Commonwealth, https://www.governor.pa.gov/wp-
content/uploads/2020/06/20200604-T W W-amendment-to-green-phase-order.pdf (last visited.
June 12, 2020).

10 See Order of the Governor of the Commonwealth of Pennsylvania For the Continued
Reopening of the Commonwealth, https://www.governor.pa.gov/wp-
content/uploads/2020/06/2020061 1-TWW-amendment-to-green-phase-order.pdf (last visited.
June 12, 2020).
signatures from voters as a means of demonstrating voter support necessary to be

placed directly on the general election ballot. See 25 P.S. § 2911.

Until 2016, the signature requirement for political bodies in Pennsylvania
was controlled by 25 P.S. § 2911. In 2016, the U.S. Court of Appeals for the Third
Circuit affirmed the judgment of this Court in Constitution Party of Pa. v. Cortes
holding that the signature requirement in 25 P.S. § 2911(b), when coupled with 25
P.S. § 2937 which allowed an award of costs in signature validation challenges,
substantially burdened political bodies’ associational rights and together were
unconstitutional as applied. See Constitution Party of Pa. v. Cortes, 824 F.3d 386

(3d Cir. 2016).

On remand, the district court in Constitution Party of Pa. entered an Order
on February 1, 2018 establishing the procedure for political body candidates to
qualify for the general election ballot. The February 1, 2018 Order directs that,
“Tulntil such time as the Pennsylvania Legislature enacts a permanent measure
amending or modifying the process to place the plaintiff political bodies on the
general election ballot and this change is signed by the Governor of Pennsylvania,”
nomination papers shall be due by August 1 and the number of signatures required

would be substantially reduced as specifically set forth in the Order. (Compl.
(ECF No. 1), Ex. A, p.1 & § 1.)!! In addition, the Order directs that no candidate
shall be assessed costs under 25 P.S. § 2937. Ud. § 3.) Further, the Order states
that it is “intended to replace the signature requirement imposed by 25 P.S. §
2911(b).” Ud. ¥ 4.) Pursuant to the February 1, 2018 Order, the deadline for
Plaintiffs to submit nomination papers for the November 3, 2020 general election

is August 3, 2020 (August | is a Saturday). Ud. ¥ 1.)

Plaintiffs’ Complaint asserts three claims under 42 U.S.C. § 1983. They
allege that the Court-Ordered ballot access requirements for minor political parties
and for political bodies “[uJnder present circumstances” violate associational rights
guaranteed by the First and Fourteenth Amendments, (Count I), violate rights
guaranteed by the Equal Protection Clause of the Fourteenth Amendment (Count
II), and violate the right to due process guaranteed by the Due Process Clause of
the Fourteenth Amendment (Count III). They seek a declaratory judgment (1)
prohibiting enforcement of the supporting signature requirement for candidates for

office for the November 3, 2020 general election; (2) directing Defendants to

 

‘l The reduction in the number of signatures mandated by the February 1, 2018 Order is very
substantial. For example, under 25 P.S. § 2911(b), political body candidates for President and
Vice-President would have required nearly 58,000 signatures to appear on the general election
ballot in November 2020, but they require only 5,000 signatures under the February 1, 2018
Order. In addition, whereas 25 P.S. § 2911(b) required a certain number of signatures from each
county in statewide races, the February 1, 2018 Order eliminated the county distribution
requirement altogether. Further, the February 1, 2018 Order set the deadline for submitting
nomination papers as August 1. This is consistent with consent decrees in prior litigation which
extended the deadline from “the second Friday subsequent to the primary,” 25 P.S. § 2913(b), to
August 1. See Baldwin v. Cortes, 378 F. App’x 135, 137 Gd Cir. 2010).

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accept their candidates’ nomination papers for the November 3, 2020 general
election without requiring any supporting signatures from voters, and (3) directing
Defendants to place their candidates’ names on the November 3, 2020 general
election ballot. (Compl. at 26-27.) Plaintiffs filed a motion for temporary
restraining order and/or preliminary injunction on May 19, 2020, requesting that
the Court direct Defendants to (1) accept their candidates’ nomination papers for
the November 3, 2020 general election without requiring supporting signatures
from voters; and (2) place their candidates on the November 3, 2020 general

election ballot. (Pls.’ Mot. for Prelim. Inj. (ECF No. 3) at 1-2.)
ARGUMENT

A preliminary injunction is an extraordinary remedy which should be
granted only in limited circumstances. Am. Tel. & Tel Co. v. Winback & Conserve
Program, Inc., 42 F.3d 1421, 1427 (3d Cir. 1994). In determining whether to grant
a motion for a preliminary injunction, district courts consider four factors: (1)
whether the movant establishes a reasonable probability of eventual success in the
litigation; (2) whether the movant will be irreparably harmed if relief is not
granted; (3) the possibility of harm to other interested persons from the grant or
denial of the injunction; and (4) the public interest. Reilly v. City of Harrisburg,
858 F.3d 173, 176 (3d Cir. 2017) (citation omitted). The two “most critical”

factors are probability of success on the merits and irreparable harm. Jd. at 179.
To establish a reasonable probability of success on the merits, the movant must
demonstrate that “it can win on the merits.” Jd. With respect to irreparable harm,
the movant must establish that it is “more likely than not” to suffer irreparable
harm absent the requested relief. Id. Ifthe likelihood of success and irreparable
harm factors are satisfied, the district court proceeds to consider the third and
fourth factors and to “determine[] in its sound discretion if all four factors, taken

together, balance in favor of granting the requested preliminary relief.” Jd. at 179.

Where, as here, the relief sought “is mandatory and will alter the status quo,
the party seeking the injunction must meet a higher standard of showing
irreparable harm in the absence of an injunction.” Bennington Foods LLC v. St.
Croix Renaissance Grp., LLP, 528 F.3d 176, 179 (3d Cir, 2008); see also Stein v.

Cortes, 223 F. Supp. 3d 423, 431 (E.D. Pa. 2016).

As demonstrated below, Plaintiffs have not and cannot satisfy any of the

requirements for the mandatory injunction they seek.

A. Plaintiffs Have Not Established a Reasonable Probability of
Success.

Plaintiffs maintain that they are entitled to a mandatory injunction requiring
that their candidates’ names be placed on the general election ballot without any
threshold showing of support because “Pennsylvania [h]as [flailed to [p]rovide

[t]hem with [a]ny [p]rocedure for [q]ualifying” for the ballot or, alternatively,
because “Pennsylvania’s statutory scheme, as currently applied, cannot withstand
constitutional scrutiny.” (Pls.’ Br. at 6-15.) Plaintiffs fail to establish and cannot

establish a likelihood of prevailing on either of these theories.

First, Plaintiffs attempt to shoehorn their claims into the fact patterns in
Williams and McCarthy by denying the existence of a procedure in Pennsylvania
for political bodies to qualify for the general election ballot. (Pls.’ Br. at 6-11.)
However, there is a procedure. As Plaintiffs concede in the same section of their
brief, “[t]he ballot access requirements established by this Court’s February 1,
2018 order in Constitution Party of Pa. remain in effect, and they are substantially
less restrictive” than prior requirements. (Pls.’ Br at 9.) The existing Court-
Ordered procedure distinguishes this case from Williams’? where a combination of
Ohio laws effectively foreclosed any party except the Republicans and Democrats
from qualifying for the ballot and McCarthy’? where a Texas law barred
independents from the presidential ballot. In this case, Plaintiffs are urging this
Court to enjoin the existing procedure and declare instead that qualifying for
general election ballots more than a decade ago somehow demonstrates the
significant modicum of support necessary for placement on the 2020 ballot. (Pl.’s

Br. at 9-10.) This is plainly beyond the Court’s authority. See Clingman v.

 

2 See Williams v. Rhodes, 393 U.S. 23 (1968).

13 See McCarthy v. Briscoe, 429 U.S. 1317 (1976).

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Beaver, 544 U.S. 581, 586 (2005); see also Esshaki v. Whitmer, --- F. App’x ---,
No. 20-1336, 2020 WL 2185553, at *2 (6th Cir. May 5, 2020) (“[F]ederal courts
have no authority to dictate to the States how they should conduct their
elections.”). As the United States Court of Appeals for the Sixth Circuit
recognized in staying a district court order enjoining state ballot access
requirements in light of the COVID-19 pandemic, federal courts can enter positive
injunctions that require compliance with existing state procedures but cannot
rewrite those procedures. See Thompson v. Dewine, 959 F.3d 804, 812-13 (6th Cir.

2020).!4

Second, Plaintiffs reverse course and argue that Pennsylvania’s “statutory
scheme, as currently applied” imposes a “severe” burden that is not justified by
any government interest. (Pl.’s Br. at 11.) A burden is severe if it works to
exclude legitimate candidates from the ballot. See The Constitution Party of Pa. v.
Cortes, 116 F. Supp. 3d 486, 501 (E.D. Pa. 2015). There is no severe burden here.
Notwithstanding the expired stay-at-home orders, Plaintiffs had and still have
ample opportunity to achieve access to the ballot through the nomination paper

process. The stay-at-home orders did not prohibit signature gathering. Further, the

 

4 Tn Rogers v. Corbett, 468 F.3d 188, 197 (3d Cir. 2006), the Third Circuit rejected the
argument that appearing on the ballot in prior elections should excuse compliance with the
signature requirement. The Court explained that requiring support for current candidates through
the signature requirement is justified by Pennsylvania’s interest in preventing ballot clutter and
ensuring viable candidates. Id.

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orders were temporary and, as of June 5, were lifted in all 67 counties in
Pennsylvania. In addition to the 33 days which Plaintiffs had to collect signatures
prior to March 23, 2020 when the first stay-at-home order went into effect, there
are 60 full days between June 5 and August 3 to collect the signatures required by
the February 1, 2018 Order—between 300 and 5000 signatures depending on the
office. This burden is not unreasonable, even during the COVID-19 pandemic.
See, e.g., Storer v. Brown, 415 U.S. 724, 740 (1974) (“gathering 325,000
signatures in 24 days would not appear to be an impossible burden’); Rogers v.
Corbett, 468 F.3d 188, 196-97 (3d Cir. 2006) (gathering 67,070 signatures in 147
days between March 8 and August 1 not an unconstitutional burden); see also
Thompson, 959 F.3d at 811 (five-week period to gather “hundreds of thousands of
signatures” following rescission of COVID-related stay-at-home order not a severe
burden); Gottlieb v. Lamont, --- F. Supp. 3d ---, No. 20-CV-0623, 2020 WL
3046205 (D. Conn. June 8, 2020) (not an unconstitutional burden to require

candidate to obtain 1000 signatures in 16 days despite COVID-19 pandemic).'°

It cannot be disputed that the Court-Ordered ballot access procedure at issue
here is grounded in valid and important state interests, including the interest in

avoiding ballot clutter and ensuring viable candidates, Jenness v. Fortson, 403 U.S.

 

‘5 This Court recently rejected a constitutional challenge to the signature gathering
requirement brought by a pro se plaintiff in Acosta v. Wolf, No. 20-2528, 2020 WL 3077098
(E.D. Pa. June 10, 2020) (on preliminary screening under 28 U.S.C. § 1915(e)(2)).

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431, 442 (1971); Rogers, 468 F.3d at 194 (These interests have long been
recognized as valid ones.”), and the interest in the orderly and efficient
administration of elections, Clements v. Fashing, 457 U.S. 957, 965 (1982);
Thompson, 959 F.3d at 811 (“[T]he deadlines allow them time to verify signatures
in an orderly and fair fashion, while also providing initiative proponents time to
challenge any adverse decision in court.”). There is also no doubt that these
compelling and well-established state interests outweigh the less-than-severe
burden the signature requirement places on Plaintiffs even in the midst of the
pandemic and therefore Plaintiffs are not likely to prevail on the merits. See
Thompson, 959 F.3d at 811 (granting motion to stay preliminary injunction

because plaintiffs were unlikely to prevail on merits of claim that five-week period
to obtain “hundreds of thousands of signatures” was unconstitutional burden);
Gottlieb, 2020 WL 3046205, at *12 (denying preliminary injunction because
plaintiffs were not likely to prevail on merits of challenge to signature requirement

that they obtain more than 1000 signatures in 16 days).'®

 

16 Plaintiffs asserted three separate claims for relief in their Complaint, but their brief in
support of their motion for preliminary injunction only advances argument on the equal
protection claim. As such, Plaintiffs have not demonstrated any likelihood of success on any of
the other claims and these other claims cannot be the basis for any preliminary injunctive relief,
In any event, Plaintiffs cannot establish any right to relief on those claims. They contend in
Count I that the now lifted stay-at-home orders infringe on their freedom of association in
violation of the First Amendment. This is not correct. The stay-at-home orders served a
substantial government interest and did not prohibit signature gathering or other means of
campaigning. As a result, there was no First Amendment violation. See Friends of Danny
DeVito v. Wolf, No. 68 MM 2020, --- A.3d ---, 2020 WL 1847100 (Pa. Apr. 13, 2020), petition

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Because Plaintiffs are seeking a mandatory injunction, they bear a
“particularly heavy” burden of demonstrating a right to relief that is “indisputably
clear.” Trinity Indus., Inc. v. Chicago Bridge & Iron Co., 735 F.3d 131, 139 (3d
Cir. 2013). Plaintiffs have not come close to satisfying this burden. Beyond
failing to establish an unconstitutional impediment to ballot access, they plainly
lack standing. They allege only a possibility of future injury—that “it will remain
difficult if not practically impossible to collect signatures” after the stay-at-home
orders are lifted, Compl. { 58—which is insufficient to give rise to standing. See
Reilly v. Ceridian Corp., 664 F.3d 38, 42-43 (3d Cir. 2011) (“allegations of
hypothetical, future injury are insufficient to establish standing”); Doe v. Nat’l Bd.
of Med. Exam’rs, 199 F.3d 146, 152-53 (3d Cir. 1999) (“at the preliminary
injunction stage, allegations are not enough to support standing”). Plaintiffs do not
and cannot prove “certainly impending” harm necessary for standing. Clapper v.
Amnesty Int’] USA, 568 U.S. 398, 409 (2013); see also Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560-61 (1992).

 

for certiorari filed, No. 19-1265 (Apr. 27, 2020); City of Renton v. Playtime Theaters, Inc., 475
U.S. 41, 47 (1986) (“content-neutral” regulation of exercise of First Amendment rights “are
acceptable so long as they are designed to serve a substantial governmental interest and do not
unreasonably limit alternative means of communication”). Plaintiffs allege in Count III that the
now expired stay-at-home orders disrupted the ballot access procedure and therefore violated due
process. They do not allege a deprivation of the right to vote or any liberty or property interest
and do not challenge the fairness of any state procedure affecting any such right. There was no
due process violation. See generally Mathews v. Eldridge, 424 U.S. 319, 332 (1976) (due
process framework).

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In addition, there is no basis for a claim under 42 U.S.C. § 1983. The
signature requirements that Plaintiffs seek to avoid are imposed by federal court
order, not state law, and therefore do not implicate Section 1983. See District of
Columbia v. Carter, 409 U.S. 418, 424-25 (1973) (“actions of the Federal
Government and its officers are. . . facially exempt from [1983’s] proscriptions”).
And any effort to revise or annul that order must be presented in the context of that
proceeding. See Celotex Corp. v. Edwards, 514 U.S. 300, 313 (1995) (“until [the
court of first instance’s] decision is reversed for error by orderly review, either by
itself or by a higher court, its orders based on its decision are to be respected”)

(citations omitted).

At bottom, Plaintiffs’ claims boil down to rank speculation that they might
not procure sufficient signatures in advance of the August 3 deadline due to social
distancing and fewer public events. (Pl.’s Br. at 12.) As the Sixth Circuit
recognized in staying a district court order preliminarily enjoining certain Ohio
ballot access requirements due to COVID-19, “private citizens’ decisions to stay
home for their own safety” are not state action and do not amount to
unconstitutional restriction on ballot access. Thompson, 959 F.3d at 810. This
reasoning applies equally here. There is no state-imposed restriction on signature

gathering and the signature requirements for each office were and are reasonably

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attainable. Accordingly, Plaintiffs have no reasonable prospect of prevailing on

the merits.!”
B. Plaintiffs Have Not Demonstrated Irreparable Harm.

Plaintiffs also fall short of establishing that they are likely to suffer
irreparable harm absent a mandatory injunction. They allege that “it will remain
difficult if not practically impossible to collect signatures after emergency
measures are lifted.” (Compl. 58.) This is not enough to justify preliminary
injunctive relief. “Establishing a risk of irreparable harm is not enough. A
plaintiff has the burden of proving a clear showing of immediate irreparable
injury.” ECRI v. McGraw-Hill, Inc., 809 F.2d 223, 226 (3d Cir. 1987) (citation
omitted); see also Kamdem-Ouaffo v. Task Memt., Inc., 792 F. App’x 218, 221 (3d
Cir. 2019). Plaintiffs have not alleged and cannot allege any facts demonstrating

that the signature requirement is unattainable. Moreover, they presume irreparable

 

'7 Plaintiffs cite various decisions addressing ballot access procedures in other states, (Pls,’
Br. at 12-14), but the Pennsylvania election calendar is materially different and more liberal than
the calendars in other states, due in part to the February 1, 2018 Order, and therefore adjustments
made in other states are not required or appropriate here. For example, the first stay-at-home
order in Michigan went into effect on March 23, 2020 and continued through and after April 21,
2020 when signatures were due. See Esshaki v. Whitmer, No. 20-1336, 2020 WL 2185553, at *2
(6th Cir, May 5, 2020). In IIlinois, the window for collecting signatures opened on March 24,
2020, four days after the stay at home order was issued, and signatures are due on June 22, 2020.
Libertarian Party of Illinois v. Pritzker, No. 20-CV-2112, 2020 WL 1951687, at **2-4 (N.D. IIL.
Apr. 23, 2020). In Utah, the stay home directive was issued on March 27, 2020 and remained in
effect through the April 13, 2020 deadline for submitting signatures to appear on the primary
ballot. Garbett v. Herbert, ---F. Supp. 3d ---, 2020 WL 2064101, at **2-3 (D. Utah. Apr. 29,
2020), appeal filed, No. 20-4051 (10th Cir. May 1, 2020).

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harm merely because they claim a constitutional violation, (P1.’s Br. at 16), but the
signature requirement is not an unconstitutional burden standing alone or in
combination with the now expired stay-at-home orders as demonstrated above.
Without a recognizable legal harm, there is no irreparable harm. Republican Party
of Pa. v. Cortes, 218 F. Supp. 3d 396, 410 (E.D. Pa. 2016). In short, there is no

immediate irreparable injury justifying a preliminary injunction.

C. Granting Preliminary Injunctive Relief Would Be Contrary to the
Public Interest and the Interests of Other Interested Parties.

Granting the mandatory preliminary injunction that Plaintiffs seek would
impair and undermine the public interest for a host of reasons. As the Supreme
Court recognized, enjoining a state from conducting elections pursuant to a
constitutionally valid procedure “would seriously and irreparably harm the State.”
Abbott v. Perez, —__ US. __, 138 S. Ct. 2305, 2324 (2018). Further, changing
election rules by injunction risks voter confusion and may deter registrants from
voting. Republican Nat’l Comm. v. Democratic Nat’lComm., _ U.S.__, 140
S. Ct. 1205, 1207 (2020) (per curiam) (“This Court has repeatedly emphasized
that lower federal courts should ordinarily not alter the election rules on the eve of
an election.”); Purcell v. Gonzalez, 549 U.S. 1, 4-5 (2006) (per curiam) (“Court
orders affecting elections, especially conflicting orders, can themselves result in

voter confusion and consequent incentive to remain away from the polls. As an

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election draws closer, that risk will increase.”) Finally, states have important
interests in protecting the integrity of the electoral process, John Doe No. 1 v.
Reed, 561 U.S. 186, 197 (2010), in avoiding ballot clutter and ensuring viable
candidates, Jenness, 403 U.S. at 442; Rogers, 468 F.3d at 194, and in ensuring the
orderly and efficient administration of elections, Clements, 457 U.S. at 965.
Opening the general election ballot to everyone as Plaintiffs propose would
threaten each of these valid and important interests. The third and fourth factors

thus tip conclusively against an award of injunctive relief.
D. The Balance of Equities Favors Defendants.

Plaintiffs have failed to establish a likelihood of success or immediate
irreparable injury. Nor have they shown that they will be harmed if required to
satisfy a signature requirement that is constitutional. Further, they cannot deny
that Pennsylvania has a valid and compelling interest in avoiding ballot crowding,
ensuring viable candidates, enforcing existing election procedures and fairly and
orderly administering the general election. The balance of the equities thus weighs
overwhelmingly against issuing a mandatory injunction that disrupts the status quo
and rewrites the procedure for ballot access. Plaintiffs’ motion for preliminary

injunctive relief should be denied.

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E. There Is No Basis To Waive the Bond Requirement.

Rule 65(c) of the Federal Rules of Civil Procedure provides that “[t]he court
may issue a preliminary injunction... only if the movant gives security in an
amount that the court considers proper to pay the costs and damages sustained by
any party found to have been wrongfully enjoined or restrained.” The Third
Circuit has held that, unless there is no risk of monetary loss to the defendant, the
failure of a district court to require a successful applicant to post a bond constitutes
reversible error. Frank’s GMC Truck Ctr., Inc. v. Gen. Motors Corp., 847 F.2d
100, 103 (3d Cir. 1988). No exception to the bond requirement applies here. If
this Court were to order the injunctive relief sought by plaintiffs, there will
certainly be increased administrative burdens and costs associated with complying

with the order. Therefore, a bond would be required.'®

 

'8 The cases cited by Plaintiffs do not support their contention that a bond is discretionary in
this Circuit. In Zambelli v. Fireworks Mfg. Co., Inc. v. Wood, 592 F.3d 412, 426 (3d Cir. 2010),
the Third Circuit held that “a district court lacks discretion under Rule 65(c) to waive a bond
requirement except in the exceptionally narrow circumstance where the nature of the action
necessarily precludes any monetary harm to the defendant, and . . . such bond shall be issued
irrespective of any request by the parties.” The rule in the Sixth Circuit is apparently different,
see Moltan Co. v. Eagle-Picher Indus., Inc., 55 F.3d 1171, 1176 (6th Cir. 1995) (recognizing that
“many circuits” have interpreted Rule 65(c) as “mandatory,” but the rule in the Sixth Circuit is
that the bond requirement is discretionary), but Moltan Co. does not apply here.

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CONCLUSION

For the reasons above, Plaintiffs have failed to make a clear showing of a

right to mandatory preliminary injunctive relief and their motion should be denied.

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Respectfully submitted,

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CERTIFICATE OF SERVICE

I, Daniel T. Brier, hereby certify that a true and correct copy of the foregoing
Memorandum of Law in Opposition to Plaintiff's Emergency Motion For
Temporary Restraining Order and Preliminary Injunction was served upon the
following counsel of record via the Court’s ECF system, on this 12th day of June

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